       Case 3:11-cv-00242-MEF-WC Document 61 Filed 12/14/12 Page 1 of 2



                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF ALABAMA
                                        CIVIL DIVISION

SUSAN H. BLAKE,                              )
                                             )
       Plaintiff,                            )
V                                            )
                                             ) CIVIL ACTION NO: 3:11-cv-242
BANK OF AMERICA, N.A., et al                 )
                                             )
       Defendants.                           )


                        PLAINTIFF’S DEPOSITION DESIGNATIONS

       COMES NOW, Plaintiff and submits the following designation of deposition testimony

that may be used at trial:

       1.The entire deposition of Diane Deloney.

       2.The entire deposition of Krestina Karlar.


       Respectfully submitted this the 14th day of December, 2012.


                                             /s/ Christina D. Crow
                                             Christina D. Crow
                                             Attorney for Plaintiff

OF COUNSEL:
JINKS, CROW, & DICKSON, P.C.
PO Box 350
219 Prairie Street North
Union Springs, AL 36089

Mr. Shane S. Seaborn
Mr. John W. Partin
Mr. Charles Hudson
Penn & Seaborn, LLC
PO Box 688
Clayton, AL 360


                                      Certificate of Service
       Case 3:11-cv-00242-MEF-WC Document 61 Filed 12/14/12 Page 2 of 2



         I hereby certify that I have, on this the 14th day of December 2012, served a copy of the foregoing
on all counsel by mailing same to each by U. S. Mail, postage prepaid and properly addressed.



Mary Colleen Beers, Esq.
Barry A. Brock, Esq.
Alan M. Warfield, Esq.
JONES, WALKER, WAECHTER,
POITEVENT, CARRERE & DENEGRE, LLP
1819 5th Ave N, Ste 1100
One Federal Place
Birmingham, AL 35203
(205) 244-5263

Suzanne R. Haley, Esq.
McGuire Woods, LLP
201 N. Tryon St., Suite 3000
Charlotte, North Carolina 28202
(704) 373-8053


Best Interest Rate Mortgage Company, LLC
c/o National Registered Agents, Inc.
141 Peaked Mountain Road
PO Box 538
Townshend, VT 05353




                                                                  /s/ Christina D. Crow
                                                                  OF COUNSEL
